           Case 4:18-cv-00334-RGE-RAW Document 1 Filed 10/01/18 Page 1 of 7




1                                UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF IOWA
2

3
     JOYCE EGEMO,                                  )   Case No.
4                                                  )
                   Plaintiffs,                     )   PLAINTIFF’S COMPLAINT FOR
5                                                  )   DAMAGES
          v.                                       )   (Unlawful Debt Collection Practices)
6
     CAPITAL ONE BANK (USA), N.A.,                 )
                                                   )
                   Defendant.                      )
7
                                                   )
8                                                  )

9

10                                           COMPLAINT

11
           JOYCE EGEMO (“Plaintiff”), by her attorneys, alleges the following against CAPITAL
12
     ONE BANK (USA), N.A. (“Defendant”):
13
        1. Plaintiff brings this action on behalf of herself individually seeking damages and any other
14
           available legal or equitable remedies resulting from the illegal actions of Defendant, in
15

16
           negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular

17         telephone in violation of the Telephone Consumer Protection Act (hereinafter “TCPA”),

18         47 U.S.C. § 227 et seq.

19                                   JURISDICTION AND VENUE

20      2. Defendant conducts business in the state of Iowa, and therefore, personal jurisdiction is
21
           established.
22
        3. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C. §227(b)(3). See,
23
           Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740 (2012), holding that federal and
24
           state courts have concurrent jurisdiction over private suits arising under the TCPA.
25




                                                    -1-

                                         PLAINTIFF’S COMPLAINT
        Case 4:18-cv-00334-RGE-RAW Document 1 Filed 10/01/18 Page 2 of 7



     4. Venue is proper in the United States District Court for the Southern District of Iowa
1
        pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within this District and a
2

3
        substantial part of the events or omissions giving rise to the herein claims occurred, or a

4       substantial part of property that is the subject of the action is situated within this District.

5                                             PARTIES

6    5. Plaintiff is a natural person residing in the county of Story in the city of Story City, Iowa
7       and is otherwise sui juris.
8
     6. Defendant is a corporation doing business in the State of Iowa and is a Virginia corporation
9
        with its principal place of business located in McLean, Virginia.
10
     7. At all times relevant to this Complaint, Defendant has acted through its agents, employees,
11
        officers, members, directors, heir, successors, assigns, principals, trustees, sureties,
12
        subrogees, representatives and insurers.
13
                                   FACTUAL ALLEGATIONS
14
     8. Defendant is a “person” as defined by 47 U.S.C. § 153(39).
15

16   9. Defendant placed collection calls to Plaintiff seeking and attempting to collect on alleged

17      debts owed by Plaintiff.

18   10. Defendant placed collection calls to Plaintiff’s cellular telephone at phone number (515)

19      231-67XX.
20   11. Defendant places collection calls to Plaintiff from phone numbers including, but not
21
        limited to, (800) 365-2024.
22
     12. Per its prior business practices, Defendant’s calls were placed with an automated telephone
23
        dialing system (“auto-dialer”).
24

25




                                                  -2-

                                       PLAINTIFF’S COMPLAINT
        Case 4:18-cv-00334-RGE-RAW Document 1 Filed 10/01/18 Page 3 of 7



     13. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. § 227(a)
1
        (1) to place its telephone calls to Plaintiff seeking to collect a consumer debt allegedly
2

3
        owed by Plaintiff, JOYCE EGEMO.

4    14. Defendant’s calls constituted calls that were not for emergency purposes as defined by 47

5       U.S.C. § 227(b)(1)(A).

6    15. Defendant’s calls were placed to a telephone number assigned to a cellular telephone
7       service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
8
        227(b)(1).
9
     16. Defendant never received Plaintiff’ “prior express consent” to receive calls using an
10
        automatic telephone dialing system or an artificial or prerecorded voice on her cellular
11
        telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
12
     17. On May 14, 2018, at or around 3:43 p. m. Pacific Standard Time, Plaintiff spoke with
13
        Defendant’s female representative at (800) 365-2024 and requested that Defendant cease
14
        calling Plaintiff’s cellular phone.
15

16   18. During the conversation, Plaintiff gave Defendant her name, telephone number, date of

17      birth, and social security number to assist Defendant in accessing her account before

18      asking Defendant to stop calling her cell phone regarding all her accounts.

19   19. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her cellular telephone
20      and/or to receive Defendant’s calls using an automatic telephone dialing system in her
21
        conversation with Defendant’s representative on May 14, 2018.
22
     20. Despite Plaintiff’s request to cease, Defendant continued to place collection calls to
23
        Plaintiff through June 4, 2018.
24

25




                                                  -3-

                                       PLAINTIFF’S COMPLAINT
          Case 4:18-cv-00334-RGE-RAW Document 1 Filed 10/01/18 Page 4 of 7



       21. Despite Plaintiff’s request that Defendant cease placing automated collection calls,
1
          Defendant placed at least Forty (40) automated calls to Plaintiff’s cell phone.
2

3                         FIRST CAUSE OF ACTION
     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
4                              47 U.S.C. § 227

5
       22. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
6
          forth above at Paragraphs 1-21.
7
       23. The foregoing acts and omissions of Defendant constitute numerous and multiple
8
          negligent violations of the TCPA, including but not limited to each and every one of the
9

10
          above cited provisions of 47 U.S.C. § 227 et seq.

11     24. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is

12        entitled to an award of $500.00 in statutory damages, for each and every violation,

13        pursuant to 47 U.S.C. §227(b)(3)(B).

14     25. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.
15
                       SECOND CAUSE OF ACTION
16
     KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
                           PROTECTION ACT
17                        47 U.S.C. § 227 et. seq.

18
       26. Plaintiff repeats and incorporates by reference into this cause of action the allegations set
19
          forth above at Paragraphs 1-21.
20
       27. The foregoing acts and omissions of Defendant constitute numerous and multiple knowing
21
          and/or willful violations of the TCPA, including but not limited to each and every one of
22
          the above cited provisions of 47 U.S.C. § 227 et seq.
23

24

25




                                                     -4-

                                         PLAINTIFF’S COMPLAINT
           Case 4:18-cv-00334-RGE-RAW Document 1 Filed 10/01/18 Page 5 of 7



        28. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,
1
            Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
2

3
            violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

4       29. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.

5
                                          PRAYER FOR RELIEF
6
            WHEREFORE, Plaintiff, JOYCE EGEMO, respectfully requests judgment be entered
7
     against Defendant, CAPITAL ONE BANK (USA), N.A. for the following:
8
                                        FIRST CAUSE OF ACTION
9
        30. For statutory damages of $500.00 multiplied by the number of TCPA violations alleged
10
            herein (40), $20,000.00;
11
        31. Actual damages and compensatory damages according to proof at time of trial;
12                                     SECOND CAUSE OF ACTION
13      32. For statutory damages $1,500.00 multiplied by the number of TCPA violations alleged
14          herein (40), $60,000.00;
15      33. Actual damages and compensatory damages according to proof at time of trial;
16                                     ON ALL CAUSES OF ACTION
17      34. Costs and reasonable attorneys’ fees;
18      35. Any other relief that this Honorable Court deems appropriate.
19                                       JURY TRIAL DEMAND
20
        36. Plaintiff demands a jury trial on all issues so triable.
21
                                                    RESPECTFULLY SUBMITTED,
22

23
        DATED: October 1, 2018
24
                                                            BY: Jason Ravnsborg
25                                                          Jason Ravnsborg



                                                      -5-

                                           PLAINTIFF’S COMPLAINT
     Case 4:18-cv-00334-RGE-RAW Document 1 Filed 10/01/18 Page 6 of 7



                                         Harmelink, Fox & Ravnsborg Law
1                                        721 Douglas, Suite 101
                                         Yankton, SD 57078
2
                                         T: (605) 665-1001
3
                                         F: (605) 665-6781
                                         jrrlaw@midco.net
4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                   -6-

                           PLAINTIFF’S COMPLAINT
     Case 4:18-cv-00334-RGE-RAW Document 1 Filed 10/01/18 Page 7 of 7




1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                   -7-

                           PLAINTIFF’S COMPLAINT
